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                            EXHIBIT 1
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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

   FIRST BANK CHICAGO F/K/A FIRST                    )
   BANK OF HIGHLAND PARK,                            )
                                                     )
                          Plaintiff,                 )
                                                     ) Case No. 1:23-CV-00643-MSN-JFA
   v.                                                )
                                                     ) Judge Michael S. Nachmanoff
   AMERICAN ELECTRIC POWER                           )
   SERVICE CORPORATION,                              ) Magistrate Judge John F. Anderson
                                                     )
                          Defendant.                 )



                              STIPULATED PROTECTIVE ORDER

         Pursuant to the parties’ joint request that the Court enter this Order, and their agreement

  that the following limitations and restrictions should apply to documents and information produced

  for inspection and copying during the course of this litigation (the “Action”), the Court hereby

  ORDERS that:

         1.      Scope. This Protective Order (hereinafter “Protective Order” or “Order”) shall

  apply to all documents or other information produced in the course of discovery or otherwise

  exchanged in this Action that the producing person or entity (the “Producing Entity”) has

  designated as “CONFIDENTIAL” (a “Confidentiality Designation”) pursuant to or anticipation of

  this Order, including but not limited to, all materials exchanged in connection with settlement

  discussions, all initial disclosures, all responses to discovery requests, all deposition testimony and

  exhibits, and all materials (including documents or testimony) produced by non-parties in response

  to subpoenas issued in connection with this matter, including all copies, excerpts, and summaries

  thereof (collectively the “Confidential Information”).
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         2.      Purpose. The purpose of this Protective Order is to protect against the unnecessary

  disclosure of Confidential Information.

         3.      Disclosure Defined. As used herein, “disclosure” or “to disclose” means to

  divulge, reveal, describe, summarize, paraphrase, quote, transmit, or otherwise communicate

  Confidential Information, and the restrictions contained herein regarding disclosure of

  Confidential Information also apply with equal force to any copies, excerpts, analyses, or

  summaries of such materials or the information contained therein, as well as to any pleadings,

  briefs, exhibits, transcripts or other documents which may be prepared in connection with this

  litigation which contain or refer to the Confidential Information or information contained therein.

         4.      Designating Material As Confidential. Any party, or any third party subpoenaed

  by one of the parties, may designate as Confidential and subject to this Protective Order any

  documents, testimony, written responses, or other materials produced in this case if they contain

  information that the Producing Entity asserts in good faith constitutes confidential personal

  information, medical or psychiatric information, trade secrets, personnel records, proprietary

  business information, or such other sensitive commercial information that is not publicly available.

  Information that is publicly available may not be designated as Confidential. The designation of

  materials as Confidential pursuant to the terms of this Protective Order does not mean that the

  document or other material has any status or protection by statute or otherwise except to the extent

  and for the purposes of this Order.

         5.      Form and Timing Of Designation.

                 a.      Documents And Written Materials. The Producing Entity shall designate

         any document or other written materials as confidential pursuant to this Order by marking

         each page of the material with a stamp identifying it as “CONFIDENTIAL,” if practical to




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       do so. The person or entity designating the material shall place the stamp, to the extent

       possible, in such a manner that it will not interfere with the legibility of the document.

       Materials shall be so-designated prior to, or at the time of, their production or disclosure.

              b.      Electronically Stored Information (“ESI”): If a production response

       includes ESI, the Producing Entity shall make an effort to include within the electronic

       files themselves the Confidentiality Designation to the extent practicable. If that is not

       practicable, then the Producing Entity shall designate in a transmittal letter or email to the

       party to whom the materials are produced (the “Receiving Party”) using a reasonable

       identifier (e.g., the Bates range) any portions of the ESI that should be treated as

       Confidential Information.

              c.      Deposition Testimony. Deposition testimony will be deemed confidential

       only if designated as such when the deposition is taken or within 14 days after receipt of

       the deposition transcript. Such designation must be specific as to the portions of the

       transcript and/or any exhibits to which the Confidentiality Designation applies, except that

       any exhibit that was marked with a Confidentiality Designation at the time of production,

       and which still bears that mark at the time of its use in a deposition, shall be presumed to

       fall within the provisions of this Order without further designation.

       6.     Limitation Of Use.

              a.      General Protections. All information that has received a Confidentiality

       Designation, including all information derived therefrom, shall be used by any Receiving

       Party solely for purposes of prosecuting or defending this Action. A Receiving Party shall

       not use or disclose the Confidential Information for any other purpose, including but not

       limited to any business, commercial, or competitive purpose. Except as set forth in this




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       Order, a Receiving Party shall not disclose Confidential Information to any third party.

       This Order shall not prevent the Producing Entity from using or disclosing information it

       has designated as Confidential Information, and that belongs to the Producing Entity, for

       any purpose that the Producing Entity deems appropriate, except that the Producing

       Entity’s voluntary disclosure of Confidential Information outside the scope of this Action

       may impact the protection that this Order would otherwise provide with regard to such

       information, once disclosed.

              b.      Persons To Whom Information Marked “Confidential” May Be

       Disclosed. Use or disclosure of any documents or information designated as Confidential

       Information, including all information derived therefrom, shall be restricted solely to the

       following persons who agree to be bound by the terms of this Protective Order, unless

       additional persons are stipulated by counsel or authorized by the Court:

              1.      outside counsel of record for the parties, and the administrative staff of
                      outside counsel’s firms;

              2.      in-house counsel for the parties, and the administrative staff for each in-
                      house counsel;

              3.      any party to this action who is an individual and anyone with power of
                      attorney with respect to that individual (but only after such persons with
                      power of attorney have completed the certification attached hereto as
                      Attachment A, Acknowledgment of Understanding and Agreement to be
                      Bound);

              4.      as to any party to this action who is not an individual, every employee,
                      director, officer, or manager of that party, but only to the extent necessary
                      to further the interest of the parties in this litigation;

              5.      independent consultants or expert witnesses (including partners, associates
                      and employees of the firm which employs such consultant or expert)
                      retained by a party or its attorneys for purposes of this litigation, but only to
                      the extent necessary to further the interest of the parties in this litigation,
                      and only after such persons have completed the certification attached hereto
                      as Attachment A, Acknowledgment of Understanding and Agreement to be



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                        Bound;

                 6.     the Court and its personnel, including, but not limited to, stenographic
                        reporters regularly employed by the Court and stenographic reporters not
                        regularly employed by the Court who are engaged by the Court or the parties
                        during the litigation of this action;

                 7.     the authors and the original recipients of the documents;

                 8.     any court reporter or videographer reporting a deposition;

                 9.     employees of copy services, microfilming or database services, trial support
                        firms, and/or translators who are engaged by the parties during the litigation
                        of this action;

                 10.    interviewees, potential witnesses, deponents, hearing or trial witnesses, and
                        any other person, where counsel for a party to this action in good faith
                        determines the individual should be provided access to such information in
                        order for counsel to more effectively prosecute or defend this action (as long
                        as the disclosure occurs in the presence of counsel, and copies, duplicates,
                        images, or the like are not removed or retained by any interviewee, potential
                        witness, deponent, or hearing or trial witness), provided, however, that in
                        all such cases the individual to whom disclosure is to be made has been
                        informed that the information contained in the disclosed document(s) is
                        confidential and protected by Court Order, that the individual understands
                        that he/she is prohibited from disclosing any information contained in the
                        document(s) to anyone; or

                 11.    any other person agreed to in writing by the parties.

  Prior to being shown any documents or information designated as Confidential Information, any

  person listed under paragraph 6(b)(3), 6(b)(4), or 6(b)(11) shall be advised that the Confidential

  Information is being disclosed pursuant to and subject to the terms of this Protective Order.

         7.      Inadvertent Production. In the event of an inadvertent production of any

  document or information subject to a claim of privilege or protection as work product, the parties

  agree to the protection of Protected Information (as defined below) against claims of waiver

  (including as against third parties and in other Federal and State proceedings) in the event such




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  information is produced during the course of the Action, whether pursuant to a Court order, a

  parties’ discovery request, or informal production, as follows:

         a.      the production of documents or electronically stored information (“ESI”)
                 (including, without limitation, metadata) subject to a legally recognized claim of
                 privilege or other protection from production or other disclosure, including without
                 limitation the attorney-client privilege and work-product doctrine, (collectively,
                 “Protected Information”), shall in no way constitute the voluntary disclosure of
                 such Protected Information unless the Producing Entity affirmatively indicates by
                 its words or conduct that the disclosure is intentional;

         b.      unless the Producing Entity affirmatively indicates by its words or conduct that the
                 disclosure is intentional, the production of Protected Information shall not result in
                 the waiver of any privilege or protection associated with such Protected Information
                 as to the Receiving Party, or any third parties, and shall not result in any waiver of
                 protection, including subject matter waiver, of any kind;

         c.      if any document or ESI (including, without limitation, metadata) received by a party
                 is on its face clearly subject to a legally recognizable privilege, immunity, or other
                 right not to produce such information, and the Producing Entity has not
                 affirmatively indicated by its words or conduct that the disclosure was intentional,
                 the Receiving Party will promptly upon discovering the issue notify the Producing
                 Entity in writing that it has discovered Protected Information, identify the Protected
                 Information by Bates Number range, and return or sequester such Protected
                 Information until the Producing Entity confirms whether it does indeed assert any
                 privilege or other protection protecting this information. Once the Producing Entity
                 asserts privilege or other protection over such Protected Information (as described
                 in Subparagraph (e) below), the Receiving Party will return, sequester, or destroy
                 all copies of such Protected Information, along with any notes, abstracts or
                 compilations of the content thereof, within ten (10) business days of notice from
                 the Producing Entity;

         d.      upon the request of the Producing Entity, the Receiving Party will promptly
                 disclose the names of any individuals who have read or have had access to the
                 Protected Information;

         e.      if the Producing Entity intends to assert a claim of privilege or other protection over
                 Protected Information identified by the Receiving Party, the Producing Entity will,
                 within ten (10) business days of receiving the Receiving Party’s written
                 notification, inform the Receiving Party of such intention in writing and shall
                 provide the Receiving Party with a log for such Protected Information that is
                 consistent with the requirements of the Federal Rules of Civil Procedure, setting
                 forth expressly the nature of the claim of privilege or other protection supported by
                 a description of the nature of the documents, communications, or things that is
                 sufficient to enable the Receiving Party to contest the claim of privilege or other



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             protection. In the event any portion of the Protected Information that is responsive
             to a discovery request or otherwise required to be disclosed does not contain
             privileged or protected information, the Producing Entity shall also provide to the
             Receiving Party a redacted copy of the Protected Information that omits the
             information that the Producing Entity believes is subject to a claim of privilege or
             other protection;

       f.    if, during the course of the Action, a party determines it has produced Protected
             Information, the Producing Entity may notify the Receiving Party of such
             production in writing. The Producing Entity’s written notice must identify the
             Protected Information by Bates Number range, the privilege or protection claimed,
             and the basis for the assertion of the privilege or other protection and shall provide
             to the Receiving Party a log for such Protected Information that is consistent with
             the requirements of the Federal Rules of Civil Procedure, setting forth expressly the
             nature of the claim of privilege or other protection supported by a description of the
             nature of the documents, communications, or things that is sufficient to enable the
             Receiving Party to contest the claim of privilege or other protection. In the event
             any portion of the Protected Information that is responsive to a discovery request
             or otherwise required to be disclosed does not contain privileged or protected
             information, the Producing Entity shall also provide to the Receiving Party a
             redacted copy of the Protected Information that omits the information that the
             Producing Entity believes is subject to a claim of privilege or other protection. The
             Producing Entity must also demand the return of the Protected Information. After
             receiving such written notification, the Receiving Party must, within ten (10)
             business days of receiving the written notification, return, sequester, or destroy the
             specified Protected Information and any copies, along with any notes, abstracts or
             compilations of the content thereof;

       g.    a Receiving Party’s return, sequestration, or destruction of such Protected
             Information as provided in the Subparagraphs above will not act as a waiver of the
             Receiving Party’s right to move for the production of the returned, sequestered, or
             destroyed Protected Information on grounds that the Protected Information is not
             in fact subject to a viable claim of privilege or other protection. However, the
             Receiving Party is prohibited and estopped from arguing that the Producing
             Entity’s production of the Protected Information in this matter acts as a waiver of
             applicable privileges or protections, that the disclosure of the Protected Information
             by the Producing Entity was not inadvertent, that the Producing Entity did not take
             reasonable steps to prevent the disclosure of the Protected Information, or that the
             Producing Entity did not take reasonable steps to rectify such disclosure; and

       h.    nothing contained herein is intended to or shall limit a Producing Entity’s right to
             conduct a review of documents or ESI (including, without limitation, metadata), for
             relevance, responsiveness, and/or the segregation of privileged and/or protected
             information before such information is produced to the Receiving Party;

       i.    prior to production to another party, all copies, electronic images, duplicates,
             extracts, summaries, or descriptions (collectively “copies”) of documents marked


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                 with a Confidentiality Designation under this Order, shall be affixed with the same
                 Confidentiality Designation if it does not already appear on the copy. All such
                 copies shall thereafter be entitled to the protection of this Order. The term “copies”
                 shall not include indices, electronic databases, or lists of documents provided these
                 indices, electronic databases, or lists do not contain substantial portions or images
                 of the text of confidential documents or otherwise disclose the substance of the
                 Confidential Information contained in those documents.

         j.      if a party inadvertently discloses any document or thing containing information that
                 it deems Confidential Information without designating it pursuant to this Protective
                 Order, the Producing Entity shall promptly upon discovery of such inadvertent
                 disclosure inform the Receiving Party in writing, forwarding a replacement copy of
                 the inadvertently disclosed material properly marked with a Confidentiality
                 Designation pursuant to this Order. The Receiving Party shall thereafter treat the
                 information as if it had been properly marked from the outset and shall make a
                 reasonable effort to retrieve and sequester or destroy the unmarked version of the
                 inadvertently disclosed material. Disclosure by the Receiving Party to unauthorized
                 persons before being notified of the inadvertent disclosure shall not constitute a
                 violation of this Protective Order. Nothing in this Protective Order shall preclude
                 the Receiving Party from challenging the Confidentiality Designation of the late-
                 marked material pursuant to the provisions of paragraph 12.

         8.      Filing Materials Containing Information With A Confidentiality Designation.

  In the event a party seeks to file with the Court any Confidential Information subject to protection

  under this Order, that party must take appropriate action to ensure that the document receives

  proper protection from public disclosure, including: (a) filing a redacted document with the

  consent of the party who designated the document as confidential; (b) where appropriate (e.g., in

  relation to discovery and evidentiary motions), submitting the document solely for in camera

  review; or (c) when the preceding measures are inadequate, seeking permission to file the

  document under seal by filing a motion for leave to file under seal. The burden of establishing that

  sealing of Confidential Information is appropriate shall, at all times, remain with the person or

  entity that made the Confidentiality Designation.

         Any motion to file a document subject to this Order under seal must meet the Fourth

  Circuit’s standard set forth in Virginia Dept. of State Police v. Washington Post, 386 F.3d 567 (4th

  Cir. 2004). The burden of demonstrating the need for and appropriateness of a sealing order is


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  borne by the moving party, and requires the moving party to show some significant interest

  outweighing the presumption of public right of access. Regardless of whether the parties agree, it

  remains the Court’s independent obligation to weigh the appropriate competing interests in

  determining whether a seal is appropriate. Any proposed sealing, even when compelling reasons

  exist, must be narrowly tailored to serve the interest at stake.

         When a party to this Order seeks to file documents which it believes may warrant sealing,

  but is not the party who may be prejudiced by the document or documents becoming part of the

  public record, the filing party shall provide the potentially-prejudiced party or parties, or any

  potentially-prejudiced third party or parties, with written notification of its intent to file such

  documents at least (14) fourteen days before doing so. After being provided such notice, the

  potentially harmed party or parties will then have (7) seven days to file with the Court a motion

  for sealing. The Court will rule on the motion as promptly as possible.

         9.      Excluding Others From Access. Whenever information bearing a Confidentiality

  Designation pursuant to this Protective Order is to be discussed at a deposition, the person or entity

  that designated the information may exclude from the room any person, other than persons

  designated in Paragraph 6 of this Order, as appropriate, for that portion of the deposition.

         10.     No Voluntary Disclosure To Other Entities. The parties or anyone acting on their

  behalf may not voluntarily disclose any Confidential Information to any state or federal law

  enforcement or regulatory agency, or any employee thereof, except in this Action as set forth in

  Paragraph 6 of this Order or as otherwise commanded by law or provided in this Order. Nothing

  in this Order shall prevent a party from providing information in its possession in response to a

  valid order or subpoena from a law enforcement or regulatory agency requiring the production of

  such information, except that, prior to such production, the party producing the information shall




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  provide as much advance notice as possible to the person or entity that designated the material as

  confidential to facilitate that party’s efforts to preserve the confidentiality of the material, if

  warranted.

         11.     Disputes As To Designations. Each party has the right to dispute the

  Confidentiality Designation asserted by any other party or subpoenaed person or entity in

  accordance with this Protective Order. If a party believes that any documents or materials have

  been inappropriately designated by another party or subpoenaed party, that party shall confer with

  counsel for the person or entity that designated the documents or materials. As part of that

  conferral, the designating person or entity must assess whether designating only a portion of the

  documents as confidential and providing redacted versions without the confidentiality designation

  is a viable alternative. In the event the parties are unable to resolve a disagreement over a

  designation, the party challenging the designation may file a motion asking the Court to resolve

  the dispute. If any party challenges the Confidentiality Designation of any document or

  information, the burden to properly maintain the designation shall, at all times, remain with the

  person or entity that made the designation to show that said document or information should

  remain protected pursuant to Federal Civil Rule 26(c). In the event of disagreement, then the

  designating person or entity shall file a motion pursuant to Federal Civil Rule 26(c). A party who

  disagrees with the designation must nevertheless abide by that designation until the matter is

  resolved by agreement of the parties or by order of the Court.

         12.     Information Security Protections. Any person in possession of Confidential

  Information received from another person or entity in connection with this Action shall exercise

  reasonable and appropriate care to protect the security and confidentiality of such Confidential

  Information, protect against any reasonably anticipated threats or hazards to the security of such




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  Confidential Information, and protect against unauthorized access to or use of such Confidential

  Information.

         If a Receiving Party discovers a breach of security, including any actual or suspected

  unauthorized access, to Confidential Information subject to this Order, it shall: (1) notify the

  person or entity who designated the materials as confidential under the terms of this Order of such

  breach; (2) investigate and take reasonable efforts to remediate the effects of the breach; and

  (3) provide sufficient information about the breach that the Producing Entity can reasonably

  ascertain the size and scope of the breach. The Receiving Party agrees to cooperate with the

  Producing Entity or law enforcement in investigating any such security incident. In any event, the

  Receiving Party shall promptly take all necessary and appropriate corrective action to terminate

  the unauthorized access.

         13.     All Trials Open To Public. All trials, and certain pretrial proceedings and

  hearings, are open to the public (collectively a “Public Hearing” or “Public Hearings”). Absent

  further order of the Court, there will be no restrictions on any Party’s ability to the use during a

  Public Hearing any document or information that has marked with a Confidentiality Designation

  or documents or information derived therefrom that would disclose such Confidential Information.

  However, if a party intends to present at a Public Hearing any document or information that has

  been so designated, the party intending to present such document or information shall provide

  advance notice to the person or entity that made the Confidentiality Designation at least (5) five

  days before the Public Hearing by identifying the documents or information at issue as specifically

  as possible (i.e., by Bates Number, page range, deposition transcript line, etc.) without divulging

  the actual documents or information. Any person may then seek appropriate relief from the Court




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  regarding restrictions on the use of such documents or information at trial, or sealing of the

  courtroom, if appropriate.

         14.     No Waiver Of Right To Object. This Order does not limit the right of any party

  to object to the scope of discovery in the above-captioned action.

         15.     No Determination Of Admissibility. This Order does not constitute a

  determination of the admissibility or evidentiary foundation for the documents or a waiver of any

  party’s objections thereto.

         16.     No Admissions. Designation by any party of information or documents under the

  terms of this Order, or failure to so designate, will not constitute an admission that information or

  documents are or are not confidential or trade secrets. Neither party may introduce into evidence

  in any proceeding between the parties, other than a motion to determine whether the Protective

  Order covers the information or documents in dispute, the fact that the other party designated or

  failed to designate information or documents under this Order.

         17.     No Prior Judicial Determination. This Order is based on the representations and

  agreements of the parties and is entered for the purpose of facilitating discovery in this Action.

  Nothing in this Order shall be construed or presented as a judicial determination that any

  documents or information as to which counsel or the parties made a Confidentiality Designation

  is in fact subject to protection under Rule 26(c) of the Federal Rules of Civil Procedure or

  otherwise until such time as the Court may rule on a specific document or issue.

         18.     Order Subject To Modification. This Order shall be subject to modification by

  the Court on its own motion or on motion of a party or any other person with standing concerning

  the subject matter.




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         19.     Parties May Consent To Disclosure. Nothing shall prevent disclosure beyond the

  terms of this Order if all parties consent to such disclosure, or if the Court, after notice to all

  affected parties, permits such disclosure. Specifically, if and to the extent any party wishes to

  disclose any Confidential Information beyond the terms of this Order, that party shall provide all

  other parties with reasonable notice in writing of its request to so disclose the materials. If the

  parties cannot resolve their disagreement with respect to the disclosure of any Confidential

  Information, then a party may petition the Court for a determination of these issues. In addition,

  any interested member of the public may also challenge the designation of any material as

  confidential, pursuant to the terms of this paragraph.

         20.     Destruction Of Materials Upon Termination Of Litigation. Upon the written

  request of the Producing Entity, within 30 days after the entry of a final judgment no longer subject

  to appeal on the merits of this case, or the execution of any agreement between the parties to

  resolve amicably and settle this case, the parties and any person authorized by this Protective Order

  to receive Confidential Information shall destroy all information and documents subject to this

  Protective Order, unless the specific document or information has been offered into evidence or

  filed without restriction as to disclosure. The party destroying the documents or other information

  shall certify, if requested by the designating party, that it has not maintained any copies of

  Confidential Information, except as permitted by this Order.

         21.     Counsel Allowed To Retain Copy Of Files. Nothing in this Protective Order shall

  prevent outside counsel for a party from maintaining in its own files and work product relating to

  the Action, including any filings, transcripts or other documents that incorporate or attach

  Confidential Information. Moreover, an attorney may use his or her work product in subsequent

  litigation provided that such use does not disclose any Confidential Information.




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           SO ORDERED.




  Dated:
                                                   HON. MICHAEL S. NACHMANOFF
                                                   UNITED STATES DISTRICT COURT

  AGREED TO:


   /s/ Debbie Devassy Babu                         /s/ Michelle S. Kallen
   Debbie Devassy Babu (admitted pro hac vice)     Michelle S. Kallen (Bar No. 93286)
   David Alexander Darcy (admitted pro hac vice)   JENNER & BLOCK LLP
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   Chicago, IL 60611                               Phone: (202) 639-6000
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   Bradley Todd Canter                             Jared M. Klaus (admitted pro hac vice)
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                                                   JKlaus@porterwright.com
   Counsel for Plaintiff First Bank Chicago
                                                   Counsel for Defendant American Electric
                                                   Power Service Corporation




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                                           ATTACHMENT A

                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Alexandria Division

   FIRST BANK CHICAGO F/K/A FIRST                    )
   BANK OF HIGHLAND PARK,                            )
                                                     )
                          Plaintiff,                 )
                                                     ) Case No. 1:23-CV-00643-MSN-JFA
   v.                                                )
                                                     ) Judge Michael S. Nachmanoff
   AMERICAN ELECTRIC POWER                           )
   SERVICE CORPORATION,                              ) Magistrate Judge John F. Anderson
                                                     )
                          Defendant.                 )



        ACKNOWLEDGMENT OF UNDERSTANDING AND AGREEMENT TO BE
                    BOUND BY PROTECTIVE ORDER

          The undersigned hereby acknowledges that [he/she] has read the Protective Order dated

  ___________________ in the above-captioned action and attached hereto, understands the terms

  thereof, and agrees to be bound by its terms. The undersigned submits to the jurisdiction of the

  United States District Court for the Eastern District of Virginia in matters relating to the Protective

  Order and understands that the terms of the Protective Order obligate [him/her] to use documents

  designated “CONFIDENTIAL” in accordance with the Order, solely for the purpose of the above-

  captioned action, and not to disclose any such documents or information derived directly therefrom

  to any other person, firm, or concern.

          The undersigned acknowledges that violation of the Protective Order may result in

  penalties for contempt of court.

  Name:

  Job Title:
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  Employer:

  Business Address:




  Date:
                                     Signature




                                        2
